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   9                        UNITED STATES DISTRICT COURT
  10                       CENTRAL DISTRICT OF CALIFORNIA
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  12    THRIVE NATURAL CARE, INC.,         Case No. 2:20-CV-9091-PA-AS
  13                   Plaintiff,          PLAINTIFF THRIVE NATURAL
                                           CARE, INC.’S JOINT MOTION IN
  14          v.                           LIMINE NO. 1 TO PRECLUDE
                                           DEFENDANT FROM OFFERING
  15    THRIVE CAUSEMETICS, INC.,          EVIDENCE OF ALLEGED THIRD-
                                           PARTY USES OF “THRIVE” MARK
  16                   Defendant.
                                           Judge: Hon. Percy Anderson
  17                                       Trial Date: Nov. 9, 2021
                                           Hearing Date: Nov. 1, 2021, 1:30 p.m.
  18                                       Courtroom: 9A
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  28                                                       PLAINTIFF’S MTN. IN LIMINE NO. 1
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  13   JaM Cellars, Inc. v. Vintage Wine Ests., Inc., No. 17-01133-CRB, 2017 WL
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  14   JL Beverage Co. v. Jim Beam Brands Co., 815 F. Appx. 110 (9th Cir. 2020) ........ 15
  15   Novadaq Techs., Inc. v. Karl Storz GmbH & Co. K.G., No. 14-CV-04853-PSG,
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  16   Ocean Bio-Chem, Inc. v. Turner Network Television, Inc., 741 F. Supp. 1546 (S.D.
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   1   I.     INTRODUCTION
   2          The subject matter which Plaintiff Thrive Natural Care, Inc. (“Thrive” or
   3   “TNC”) seeks to exclude in its Motion is: Exhibit Nos. 364, 365, 366, 367, 368,
   4   370, 371, 428, 429, 430, 431, 435, 442, 443, 444, 445, 446, 447, 448, 449, relating
   5   to alleged third-party use of the “Thrive” mark.1
   6          Alleged prejudice if evidence is not excluded: The jury may erroneously
   7   conclude that there are a thousand more businesses using the “Thrive” mark on
   8   skincare products than there truly are, causing them to mistakenly believe that the
   9   “Thrive” marks are weak or stand within a crowded field when in fact the evidence
  10   is not admissible for that purpose under Ninth Circuit and this District’s case law.
  11   II.    PLAINTIFF THRIVE’S ARGUMENT
  12          Defendant Thrive Causemetics, Inc. (“TCI”) intends to offer evidence of
  13   alleged third-party use of the word “thrive” to argue Plaintiff Thrive’s “Thrive”
  14   trademark is weak or exists within a crowded field. That evidence includes items
  15   like a printout from the USPTO trademark database of every single trademark
  16   application or registration currently existing in the U.S. for a mark containing any
  17   iteration of the word “thrive,” regardless of what class it is in, whether the
  18   trademark is actually registered, whether it is simply an “intent-to-use” application,
  19   and, perhaps most importantly, whether the products or services described actually
  20   bear any relationship to skincare products. (See Exhibit 364). TCI’s evidence also
  21   includes screenshots from seven different websites, most of which do not include a
  22   single skincare product or any product related to skincare products. (Exhibits 365-
  23   371). These eight exhibits are irrelevant and prejudicial because they (1) are not
  24   limited to the relevant field of skincare products, (2) fail to show the extent of usage
  25   of the third party marks so that the jury can determine whether the third-party
  26   trademarks have actually weakened Thrive Natural Care’s trademark, and (3) fail to
       1
  27     Defendant added Exhibit Nos. 428-431, 435, and 442-449 to its exhibit list the day before this
       motion was filed and after the joint briefing had already been exchanged. Those exhibits are
  28   therefore not specifically discussed herein. However, the reasons for exclusion are identical.
                                                                          PLAINTIFF’S MTN. IN LIMINE NO. 1
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   1   exclude intent-to-use trademark applications that should have no bearing
   2   whatsoever on the jury’s analysis.
   3           Applicable case law establishes that printouts of USPTO search results and
   4   website pages fail to satisfy the requirement that a defendant must demonstrate the
   5   extent of third-party mark usage. Accordingly, TNC now moves to exclude Thrive
   6   Causemetics’ third-party use, exhibits 364 through 371, 428-431, 435, and 442-449,
   7   under Rules 402 and 403 of the Federal Rules of Evidence. This issue should be
   8   decided before trial so that both parties can plan their opening statements and trial
   9   presentations knowing whether TCI’s contentions regarding third-party usage will
  10   be permitted at trial.
  11      A.      Printouts of Third-Party Trademark Filings and Webpages
  12              Purporting to Show Use Have Frequently Been Excluded
  13           It is established in this District that “third-party registrations are not
  14   probative of conceptual weakness without evidence that the marks were actually
  15   used in commerce and viewed by consumers.” Boldface Licensing + Branding v.
  16   By Lee Tillett, Inc., 940 F. Supp. 2d 1178, 1191 (C.D. Cal. 2013) (citing 2 J.
  17   Thomas McCarthy, McCarthy On Trademarks & Unfair Competition § 11:89 (4th
  18   ed. 2013) (“The mere citation of third party registrations is not proof of third party
  19   uses for the purpose of showing a crowded field and relative weakness” because
  20   “[t]hird party registrations are not evidence of use ‘so as to have conditioned the
  21   mind of prospective purchasers.’”)). In Boldface, the court found irrelevant dozens
  22   of third-party trademark registrations and applications for similar marks to
  23   plaintiff’s even when they were in the same class, cosmetics and beauty products.
  24   After carefully reviewing the applicable law and commentary, the court held that
  25   “[b]ecause [defendant] has offered no evidence to show that any of the marks
  26   reflected in the registrations and applications were in fact used in commerce, this
  27   evidence does not show that [plaintiff’s] mark is weakened because it is used in a
  28   ‘crowded field’ of similar marks on similar goods.” 940 F. Supp. 2d at 1191.
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   1   Similarly, the court in Icon Enters. Int'l, Inc. v. Am. Prod. Co., No. CV 04-1240
   2   SVW PLAX, 2004 WL 5644805 (C.D. Cal. Oct. 7, 2004), granted plaintiff’s
   3   motion to exclude trademark search reports and printout from the USPTO website
   4   because “Defendants have made no showing that the marks were actually
   5   used . . . .” Id. at *31 (citing 2 J. Thomas McCarthy, Trademarks and Unfair
   6   Competition § 11:88 (4th ed. 2001) (“[I]t is well settled that a trademark search
   7   report does not constitute evidence of either the existence of the registration or of
   8   the use of a mark.”)).
   9         With regard to other purported evidence of third-party use of a mark, “[t]he
  10   probative value of third-party trademarks depends entirely upon their usage” and
  11   “where the record includes no evidence of the extent of third party uses the
  12   probative value of this evidence is minimal.” Palm Bay Imports v. Veuve Clicquot
  13   Ponsardin Maison Fondee En 1772, 396 F.3d 1369, 1373 (Fed. Cir. 2005); see also
  14   Scarves by Vera, Inc. v. Todo Imports Ltd., 544 F.2d 1167, 1173 (2d Cir. 1976)
  15   (“The significance of third-party trademarks depends wholly upon their usage.
  16   Defendant introduced no evidence that these trademarks were actually used by third
  17   parties, that they were well promoted or that they were recognized by consumers.”).
  18   On these grounds, in Buzzballz, L.L.C. v. Buzzbox Beverages, Inc., No. ED14-CV-
  19   01725-VAP-DTBX, 2016 WL 7496769 (C.D. Cal. April 12, 2016), the court in this
  20   District granted plaintiff’s motion in limine and excluded 10 alleged third-party
  21   trademark uses because they were not for the same goods covered by the plaintiff’s
  22   trademark. Id. at *2; see also Eclipse Assocs. Ltd. v. Data Gen. Corp., 894 F.2d
  23   1114, 1119 (9th Cir. 1990) (finding no error in excluding evidence of use of mark
  24   for goods in unrelated field, because “[e]vidence of other unrelated potential
  25   infringers is irrelevant to claims of trademark infringement and unfair competition
  26   under federal law.”). The Buzzballz court then excluded the remaining 14 alleged
  27   third-party trademark uses because the defendant “has presented no evidence
  28   showing actual use.” 2016 WL 7496769 at *3. According to Buzzballz, “Defendants
                                                                   PLAINTIFF’S MTN. IN LIMINE NO. 1
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   1   must submit more than the homepage of a company’s website and lay a foundation
   2   for it to show each Mark is actually used in commerce.” Id.
   3           Similarly, in United Country Real Estate, LLC v. United Realty Group, No.
   4   16-CV-60154, 2017 WL 1293618 at *5 (S.D. Fla. Feb. 27, 2017), the court
   5   excluded expert testimony regarding third-party usage of 66 similar trademarks.
   6   That testimony rested upon “a picture of a storefront advertising the trademark at
   7   issue to the public, [and] a printout of a publicly accessible webpage bearing the
   8   mark.” Id. What was missing, the court held, was “any information or data
   9   regarding the extent to which the 66 third-party marks have been used.” Id. Such
  10   evidence might include “the length of time the brand had been in use; any
  11   advertising performed by the brand; any sales completed by the brand; the quality
  12   of the brand’s products or services; the extent of consumer exposure to the brand;
  13   or the particular services offered by the brand.” Id. Thus, again, evidence of the
  14   extent of use of third-party trademarks was indispensable to the admissibility of
  15   evidence of alleged third-party uses.
  16      B.      TCI’s Purported Evidence of Third-Party Use Lacks Any Probative
  17              Value and Should be Excluded
  18           Here, TCI is seeking to use at trial a list of USPTO search results for the term
  19   “thrive*”2 which shows 1,074 applications and registrations, not a single one of
  20   which has any demonstrated relationship to skincare products. (See Exhibit 364).
  21   These search results are significantly broader than those deemed irrelevant in
  22   Boldface, because here the listings are not limited to Class 003, not limited to
  23   skincare products, and do not exclude “intent-to-use” applications, but instead
  24   broadly cover any use of any iteration of “thrive” in any context for any goods or
       2
  25     The asterisk is a wildcard in the search, so TCI’s results include not just
       registrations and applications with the word “thrive” but also any marks that have
  26   “thrive” as a root to a longer word or variants of that word. This broad search
       function includes uses of thrive as a suffix, prefix, or in the middle of a much
  27   longer phrase or design logo. The search captures many irrelevant results such as
       “WETHRIVV COMFORT” (Exhibit 364, #67), “3IVELABS” (Id., #398), and even
  28   “SHUNXIN” (Id., #s 515-517), none of which describe skincare products.
                                                                    PLAINTIFF’S MTN. IN LIMINE NO. 1
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   1   services. TCI’s failure to limit the field to skincare products is one reason to
   2   exclude the search results. See Eclipse, 894 F.2d at 1119; Buzzballz, 2016 WL
   3   7496769, at *2. A second reason is that TCI has provided zero evidence that the
   4   marks on the list “were actually used in commerce and viewed by consumers” or
   5   that any use was significant enough to have “conditioned the mind of prospective
   6   purchasers.” Boldface, 940 F. Supp. 2d at 1191; McCarthy § 11:89 (4th ed. 2013);
   7   see also JaM Cellars, Inc. v. Vintage Wine Ests., Inc., No. 17-01133-CRB, 2017
   8   WL 2535864, at *5 (N.D. Cal. June 12, 2017) (rejecting list of trademark
   9   registrations containing the word BUTTER because “[t]hat a mark is registered
  10   does not establish how widely used it is; for example, who is to say that consumers
  11   ever actually encounter BUTTERKISSED wine?”); Charles Schwab & Co., Inc. v.
  12   Hibernia Bank, 665 F. Supp. 800, 806 (N.D. Cal. 1987) (rejecting trademark search
  13   that disclosed over 40 current or past registrations as “not proof of third party
  14   uses.”) Indeed, like the list in Boldface, TCI’s USPTO search results also include
  15   intent-to-use applications, which by definition “cannot be proof that those marks
  16   are used in the marketplace and viewed by consumers.” Boldface, 940 F. Supp. 2d
  17   at 1191 n.13. Because of complete lack of evidence of use in the relevant field of
  18   skincare products, this list of USPTO search results is irrelevant and prejudicial and
  19   should be excluded. See Boldface, 940 F. Supp. 2d at 1191; Buzzballs, 2016 WL
  20   7496769 at *3; Icon Enters., 2004 WL 5644805, at *31.
  21         As a closer examination of just how irrelevant the search results of Exhibit
  22   364 are, the first three search results on page one of the exhibit are described below.
  23   The very first result is Serial Number 90502924, which is an application (not a
  24   registration), for a service mark “ThrivePage” in services Class 41 for “self-
  25   improvement coaching services” and in Class 42 for “business and self-
  26   improvement coaching software-as-a-service”. The second result is application
  27   number 90498830 for “THRLVEART” in class 16 for “art pictures on canvas”.
  28   This application does not even include the word “thrive” or any iteration of it, much
                                                                   PLAINTIFF’S MTN. IN LIMINE NO. 1
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   1   less does it have anything to do with skincare products. The third application on the
   2   list, number 90445305, is a service mark for “OVERCOME BURNOUT AND
   3   THRIVE” in Class 41 for educational workshops “in the field of preventing
   4   physical or mental collapse caused by overwork or stress.” Again, this is simply an
   5   application and it has nothing to do with the brand “Thrive” for Skincare Products.
   6   These applications for services not in the same universe as skincare products are not
   7   relevant to the issues the jury is going to decide, and it is put forward as a blatant
   8   attempt to simply confuse the jury into thinking there are “1074” records of Thrive
   9   used for relevant products, which is not true.
  10         None of TCI’s other exhibits are any more probative of the extent of third-
  11   party use of any trademarks. Several of the exhibits have no relationship at all to
  12   skincare products and should be excluded on that basis. Specifically: Exhibit 365 is
  13   for a first aid kit and ice packs; Exhibit 368 is for a website called “Surthrival” that
  14   sells dietary supplements and “superfoods such as elk antler velvet; and Exhibit 371
  15   is for a “wellness kitchen” that offers a meal delivery service for cancer patients .
  16   These exhibits are not related to the relevant field of skincare products and are thus
  17   irrelevant and prejudicial and should be excluded. See Eclipse, 894 F.2d at 1119;
  18   Buzzballz, 2016 WL 7496769, at *2.
  19         With regard to the remaining exhibits, 366, 367, 369, 370, all are images of
  20   webpages with nothing more—exactly the type of evidence excluded in Buzzballz,
  21   2016 WL 7496769 at *3, and United Country, 2017 WL 1293618 at *5.
  22   “[E]vidence of third-party use is not admissible unless the proponent can provide
  23   ‘evidence that [the] trademarks were actually used by third parties, that they were
  24   well promoted or that they were recognized by consumers.” Icon Enters., 2004 WL
  25   5644805, at *30 (quoting Scarves by Vera, 544 F.2d at 1173). With its webpage
  26   evidence, TCI has failed to show “how extensive these uses are and how long they
  27   have continued.” Id. There is no information about “the length of time the brand
  28   had been in use; any advertising performed by the brand; any sales completed by
                                                                    PLAINTIFF’S MTN. IN LIMINE NO. 1
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   1    the brand; the quality of the brand’s products or services; [or] the extent of
   2    consumer exposure to the brand.” United Country, 2017 WL 1293618 at *5.
   3    Moreover, several of these exhibits depict products with alternate names such as
   4    “Naked & Thriving” and “ithriveX,” and TCI has not offered any evidence that
   5    such use would have “conditioned the mind of prospective purchasers” to recognize
   6    “Thrive” alone as a widely-used mark for skincare products. For these reasons, the
   7    evidence of purported third-party use is irrelevant and prejudicial, as TCI has failed
   8    to offer any evidence of the critical factor—the extent of third-party usage of a
   9    similar mark in the same field. See Palm Bay, 396 F.3d at 1373; Icon Enters., 2004
  10    WL 5644805, at *30.
  11          While Exhibits 369 and 370 are already objectionable and should be
  12    excluded for being screenshots of mere websites with nothing more, additional
  13    reasons to exclude them are provided below. Exhibit 369 is a screenshot of a
  14    website named “Thrive Market” purportedly offering for sale skincare products
  15    with different brand names on them other than “thrive”. For example, on the first
  16    page is “Hero Cosmetics”. On the second page is “Mad Hippie”, “Ursa Major”,
  17    “MyChelle”, and “Acure” branded skincare products. There is no evidence that the
  18    word “Thrive” appears on the packaging of even a single one of these products.
  19          Exhibit 370 is a screenshot from Le-Vel that shows a skincare product
  20    branded as “Thrive Skin”. Notably, this is the first and only exhibit offered by TCI
  21    that actually purports to show a skincare product branded as “Thrive”. However,
  22    TCI failed to show any actual sales or a registered trademark from Le-Vel. The
  23    extent of TCI’s Exhibit 370 evidence is a single digital image of one product, with
  24    no context as to whether the product has a single sale in the U.S. Since TCI has no
  25    evidence that this product has ever been sold in the U.S., much less the extent of
  26    those sales, this Exhibit should also be excluded.
  27   III.   DEFENDANT TCI’S OPPOSITION
  28          Plaintiff Thrive Natural Care, Inc. (“Plaintiff”) seeks to exclude evidence
                                                                    PLAINTIFF’S MTN. IN LIMINE NO. 1
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   1   proffered by Defendant Thrive Causemetics, Inc. (“TCI”) relating to third-party use
   2   of variations on the mark “Thrive”. These exhibits include a list of third-party
   3   trademarks from the United States Patent and Trademark Office (“USPTO”)
   4   incorporating the term “Thrive” or close variants, as well as the webpages of
   5   several companies reflecting use of such marks.
   6         Plaintiff’s arguments for exclusion are flawed. Courts, both in this district
   7   and elsewhere, have routinely admitted evidence of third-party trademark filings to
   8   demonstrate that a mark exists in a “crowded field” and is weak, and in all events,
   9   Plaintiff’s challenges to both the USPTO records and the third-party webpages
  10   relate at most to weight, rather than admissibility. Finally, because this action will
  11   now be a bench trial rather than a jury trial (as the only relief sought by Plaintiff is
  12   equitable, in light of the Court’s recent summary judgment order), there is no risk
  13   of juror confusion, and the Court can readily determine the weight to be given the
  14   challenged evidence. Plaintiff’s motion should be denied.
  15         A.     Courts Routinely Permit Evidence of the Sort Offered by TCI to
  16                Demonstrate that a Mark Exists in a “Crowded Field.”
  17         Plaintiff first challenges TCI’s Exhibit 364, a printout from the USPTO
  18   online database showing 1,074 active trademark registrations or applications
  19   containing the word “Thrive” or variations thereof. In support, Plaintiff asserts that
  20   it is ostensibly “established in this District” that third-party registrations are not
  21   probative of a mark’s weakness without evidence of the nature and extent of the
  22   third-party’s use of the marks. See supra at 2:9-11. Not so. On the contrary, while
  23   the practice is not uniform, courts both in this District and elsewhere have routinely
  24   admitted evidence of third party registrations, without detailed evidence respecting
  25   use, as probative of a conclusion that a mark is weak. See, e.g., Glow Indus., Inc. v.
  26   Lopez, 252 F. Supp. 2d 962, 991 (C.D. Cal. 2002) (citing cases).
  27         In Glow Industries, for example, the court relied in part on the large number
  28   of third-party trademark registrations in support of its finding that the plaintiff’s
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   1   mark “Glow” competed in a “crowded field” of products that likewise used the term
   2   “glow.” Id. at 973-74. The court then cited to a series of cases which found similar
   3   lists to be competent evidence of the weakness of a party’s trademark. For example,
   4   in Franklin Resources, Inc. v. Franklin Credit Mgmt. Corp., 988 F.Supp. 322
   5   (S.D.N.Y. 1997), the court found a list of sixty-five business names from the New
   6   York Yellow Pages probative of a trademark’s relative weakness within a crowded
   7   field. Id. at 328 (“It is well settled that third-party registration and use dilutes the
   8   strength of a trademark . . . [t]hat dissolution is significant in the case at bar.”).
   9   Likewise, Glow cited Estee Lauder Inc. v. The Gap, Inc., 108 F.3d 1503 (2d Cir.
  10   1997), in which the court held that the use of the trademark Lauder was not wholly
  11   original, including based on the number of third-party registrations and applications
  12   for renewal using the term: “The . . . finding is amply supported by the trial
  13   evidence that . . . there were more than 70 trademark registrations, pending
  14   applications for registration or renewal, or publications-for-opposition that
  15   incorporated the term.” Id. at 1511.
  16          Nor do these cases and courts stand alone. For instance, analyzing this
  17   precise issue, the Fourth Circuit stated as follows:
  18          [Plaintiff] argues . . . that evidence of third-party registrations alone is
              insufficient to conclude that a mark is weak. [Plaintiff] maintains that
  19          only proof that third parties actually use the term . . . would be
              relevant. We disagree. The frequency with which a term is used in
  20          other trademark registrations is indeed relevant to the distinctiveness
              inquiry under the first likelihood of confusion factor. . . This is
  21          especially true when the number of third-party registrations is great.
  22   Petro Stopping Ctrs., L.P. v. James River Petroleum, Inc., 130 F.3d 88, 93 (4th Cir.
  23   1997) (citations omitted). Numerous other courts have reached the same
  24   conclusion. See, e.g., Homeowners Grp., Inc. v. Home Mktg. Specialists, Inc., 931
  25   F.2d 1100, 1108 (6th Cir. 1991) (finding “[Defendant’s] proffered evidence [of
  26   third-party marks, though it lacked detail as to the nature and extent of the third-
  27   party use] is relevant to the strength of [Plaintiff’s] mark(s) and should have been
  28   considered for this purpose.”); Sun Banks of Fla., Inc. v. Sun Fed. Sav. & Loan
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   1   Ass'n, 651 F.2d 311, 316 (5th Cir. 1981) (finding the fact that over 4400 business
   2   had registered with the Florida Secretary of State using the word “Sun” in their
   3   names “impressive evidence that there would be no likelihood of confusion”). See
   4   also Ocean Bio-Chem, Inc. v. Turner Network Television, Inc., 741 F. Supp. 1546,
   5   1556 (S.D. Fla. 1990) (“These extensive third party registrations are entitled to
   6   considerable weight in determining the strength of [Plaintiff’s] mark.”). In short,
   7   ample authority supports the admission of evidence of third-party marks as
   8   reflected in “live” USPTO records, independent of evidence of the extent of the
   9   third-party’s use of the mark.
  10          Relatedly, Plaintiff takes aim at Exhibits 366, 367, 369, and 370, asserting
  11   that evidence of live web pages is insufficient evidence of “actual[] use[].” Here,
  12   the exhibits clearly include all of the required indicia of actual use, including the
  13   “distinctive characteristics” of the websites, the webpage URLs, and the dates
  14   printed. See 21st Century Fin. Servs., LLC v. Manchester Fin. Bank, 255 F. Supp.
  15   3d 1012, 1020 (S.D. Cal. 2017). Moreover, as to at least of two of these marks (as
  16   shown in 369 and 370), Plaintiff itself has admitted actual use by the third-party,
  17   stating in interrogatory responses that Plaintiff’s counsel has sent demand letters to
  18   Thrive Market (369) and that Plaintiff has filed suit against Le-Vel Brands, LLC
  19   (370), both based on the alleged infringing use of “Thrive”-related marks in
  20   commerce. See Decl. of Lauren M. De Lilly in Support of Thrive Causemetics,
  21   Inc.’s Opp. to Pl.’s Joint Mots. in Limine, Ex. B (Pl.’s Resp. to Def’s. Interrog. No.
  22   5).3 Plaintiff’s claim that TCI must make some further showing of the nature and
  23   extent of third-party use of the marks identified in Exhibit 364 and the remaining
  24   exhibits that are the subject of Plaintiff’s motion should therefore be rejected.4
              3
  25             Notwithstanding this fact, as to Exhibit 369, TCI acknowledges Plaintiff’s position that
       Plaintiff does not contend that the skincare products depicted in that exhibit, which are sold on
  26   thrivemarket.com with “different brand names on them other than ‘thrive’,” infringe any rights
       held by Plaintiff.
  27           4
                 To the extent the Court disagrees, TCI requests that the Court adopt the approach taken
       in the two cases cited by Plaintiff in which a court in this district excluded evidence of third-party
  28   marks at the motion in limine stage, and permit TCI to supplement its exhibit list with publicly-
                                                                             PLAINTIFF’S MTN. IN LIMINE NO. 1
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   1          Plaintiff separately challenges Exhibit 364, together with Exhibits 365, 368,
   2   and 371, on the ground that certain of the referenced marks are not in the same
   3   “class” as skincare products. In support, Plaintiff cites Eclipse Assocs. Ltd. v. Data
   4   Gen. Corp., 894 F.2d 1114, 1119 (9th Cir. 1990), for the proposition that
   5   “[e]vidence of other unrelated potential infringers is irrelevant to claims of
   6   trademark infringement and unfair competition under federal law.” In Eclipse the
   7   Ninth Circuit affirmed a district court’s decision to exclude the deposition
   8   transcripts of five third-party users of a mark who operated in separate industries
   9   from the litigants, concluding that evidence of five uses of the same mark in other
  10   industries “is irrelevant to the case at bar and was correctly excluded.” Id.
  11          Notably, however, McCarthy on Trademarks cautions against reading
  12   Eclipse—in which the court’s entire treatment of the subject is limited to the final
  13   two sentences of its order—in the overly-broad manner advanced by Plaintiff:
  14   “This ruling cannot be over-generalized, because some evidence of unrelated use is
  15   relevant where the alleged mark is in common and widespread use in many fields,
  16   such as ACME, NATIONAL or PREMIUM.” J. Thomas McCarthy, McCarthy on
  17   Trademarks & Unfair Competition, § 11:88 (5th ed. 2021). The treatise continues:
  18   “In such cases, evidence of extensive third party use on a wide range of goods and
  19   services does tend to weaken strength and narrow the scope of protection to some
  20   extent.” Id. (emphasis added). This is likewise the case here, where—as TCI’s list
  21   of 1,074 active marks from the USPTO demonstrates—there is unquestionably
  22   “extensive” third party activity with respect to the term “Thrive” and close
  23
       available evidence relating to the nature and use of the marks that are the subject of the
  24   challenged exhibits. See Icon Enters. Int'l, Inc. v. Am. Prod. Co., No. CV 04-1240-SVW (PLAx),
       2004 WL 5644805, at * 30 (C.D. Cal. Oct. 7, 2004); BuzzBallz, L.L.C. v. BuzzBox Beverages,
  25   Inc., No. ED14CV01725VAP (DTBx), 2016 WL 7496769, at *3 (C.D. Cal. Apr. 12, 2016). This
       evidence includes the relevant companies’ public social media profiles, which provide ready
  26   indicia of the extent of their public recognition through the numbers of their followers. The
       verified Instagram page for Le-Vel Brands, LLC, for example, illustrates both the character and
  27   frequency of that company’s use of the term “Thrive,” throughout its 1,579 Instagram posts, as
       well as one measure of the reach of that usage via its over 207,000 followers. See Le-Vel Brands
  28   (@le_velofficial), Instagram, https://www.instagram.com/le_velofficial (last visited Oct. 8, 2021).
                                                                           PLAINTIFF’S MTN. IN LIMINE NO. 1
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   1   variations. Moreover, as noted by one court in denying a plaintiff’s motion to
   2   exclude evidence concerning third party registrations of marks, the question of
   3   whether such marks are in an unrelated field can be readily addressed through
   4   cross-examination at trial. See Novadaq Techs., Inc. v. Karl Storz GmbH & Co.
   5   K.G., No. 14-CV-04853-PSG, 2015 WL 9266497, at *5 (N.D. Cal. Dec. 18, 2015)
   6   (“Third-party use of similar marks may bear on the strength of [Plaintiff]'s marks.
   7   [Plaintiff] can cross-examine the relevant witnesses about how similar those marks
   8   are to [Plaintiff]’s and about the extent to which those marks are used in related
   9   fields.”).
  10          In light of the foregoing authority, Plaintiff’s challenges go at most to the
  11   weight to be afforded TCI’s evidence respecting third-party uses of “Thrive”-
  12   related marks, not its admissibility. See Homeowners Grp., 931 F.2d at 1108 (6th
  13   Cir. 1991) (with respect to a report listing numerous third-party trademark
  14   registrations, noting that “[w]hile more detailed information regarding the nature
  15   and extent of use by third-party users . . . may be more persuasive than the
  16   information provided, the evidence offered . . . was certainly probative of the fact
  17   that marks consisting of or containing [plaintiff’s mark] are used in the marketplace
  18   by others.”) (emphasis added). Plaintiff’s motion should be denied, and the exhibits
  19   should be admitted.
  20          B.    Plaintiff’s Claim of Prejudice Is Moot.
  21          Plaintiff’s only claim of alleged prejudice is that a “jury” may “erroneously
  22   believe” or “mistakenly conclude” information relating to third party “Thrive”-
  23   related marks. This claim of prejudice is now moot. In its order dated October 6,
  24   2021, this Court granted TCI’s motion for summary judgment as to Plaintiff’s claim
  25   for corrective advertising and reasonable royalty damages, leaving Plaintiff’s claim
  26   for disgorgement of TCI’s profits as the only monetary relief sought. Because there
  27   is no right to a jury trial in a trademark infringement action seeking disgorgement
  28   of profits, see, e.g., JL Beverage Co. v. Jim Beam Brands Co., 815 F. Appx. 110
                                                                    PLAINTIFF’S MTN. IN LIMINE NO. 1
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   1   (9th Cir. 2020), this will be a bench trial. The Court is more than capable of
   2   understanding the evidence presented and affording it the appropriate weight,
   3   without risk of confusion. The absence of any potential prejudice to Plaintiff
   4   likewise militates strongly against granting its motion in limine.
   5   IV.   PLAINTIFF THRIVE’S REPLY
   6         TCI has not offered any reason the Court should disregard the holding of
   7   Boldface, as supported by McCarthy, that “[t]he mere citation of third party
   8   registrations is not proof of third party uses for the purpose of showing a crowded
   9   field and relative weakness.” 940 F. Supp. 2d at 1191. TCI’s list from the PTO
  10   contains applications for marks that do not even include the word “thrive”; are for
  11   any services and goods including art prints, life-coaching services, honey, and real
  12   estate development; and many are intent-to-use applications. See Declaration of
  13   Stephen McArthur filed herewith ¶ 5. TCI’s argument is that Thrive can address
  14   this evidence in cross-examination, but cross-examination on over one thousand
  15   irrelevant marks with no relation to skincare products is the definition of a waste of
  16   time. And the witness would solely be able to testify as to the authenticity of the
  17   document since it is simply a printout from an online website. The PTO list should
  18   thus be excluded under Rules 402 and 403 as a waste of time that has no relevance
  19   to the issues. The same is true for the other PTO printouts (Exs. 428-431), which
  20   show nothing about how, or even if, the claimed mark is used.
  21         The other webpages offered by TCI do not, as TCI essentially admits, show
  22   that third parties have made extensive use of a “Thrive” mark in relation to skincare
  23   products. As the court in Glow Indus., Inc. v. Lopez, 252 F. Supp. 2d 962 (C.D. Cal.
  24   2002), stated, “[t]he key question in such a case is whether consumers who
  25   encounter [plaintiff’s] products will believe that they are associated with
  26   defendants’ [product] line.” Id. at 991. Thus, evidence regarding third-party use is
  27   only relevant where it is for the same types of products and shows use of the same
  28   word as a trademark. Id. TCI’s webpage exhibits have nothing to do with skincare
                                                                  PLAINTIFF’S MTN. IN LIMINE NO. 1
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   1   products and are thus irrelevant and would waste time. None of the printouts
   2   demonstrate that a third party has used a “Thrive” mark in commerce in a way that
   3   consumers might believe Thrive’s “THRIVE” skincare products are associated with
   4   a third party instead of TCI’s “THRIVE causemetics” skincare products. These
   5   exhibits should therefore be excluded under Rules 402 and 403.
   6

   7   Dated: October 15, 2021               Respectfully submitted,
   8                                         THE MCARTHUR LAW FIRM, PC
   9
                                             By /s/ Stephen McArthur
  10
                                             Stephen C. McArthur
  11                                         Thomas E. Dietrich
  12                                         Attorneys for Plaintiff Thrive Natural Care,
                                             Inc.
  13

  14
       Dated: October 15, 2021               Respectfully submitted,
  15

  16                                         SIDLEY AUSTIN LLP
  17
                                             By /s/ Rollin Ransom (with permission)
  18
                                             Rollin Ransom
  19
                                             Attorneys for Defendant Thrive Causemetics,
  20                                         Inc.
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                                                                PLAINTIFF’S MTN. IN LIMINE NO. 1
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   1                   ATTESTATION UNDER LOCAL RULE 5-4.3.4
   2         I, Thomas Dietrich, am the ECF User whose ID and password are being used
   3   to file this Stipulation. In compliance with Local Rule 5-4.3.4(a)(2), I hereby attest
   4   that Rollin Ransom has concurred in this filing.
   5

   6   Dated: October 15, 2021                    /s/ Thomas Dietrich
                                                  Thomas Dietrich
   7

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   1                              CERTIFICATE OF SERVICE
   2   Case Name: Thrive Natural Care, Inc. v. Thrive Causemetics, Inc.
       Case No.: 2:20-cv-9091-PA-AS
   3
       IT IS HEREBY CERTIFIED THAT:
   4
              I, the undersigned, declare under penalty of perjury that I am a citizen of the
   5   United States over 18 years of age. My business address is 9465 Wilshire Blvd.,
       Ste. 300, Beverly Hills, CA 90212. I am not a party to the above-entitled action.
   6
                I have caused service of the following documents, described as:
   7
       PLAINTIFF THRIVE NATURAL CARE, INC.’S JOINT MOTION IN
   8   LIMINE NO. 1 TO PRECLUDE DEFENDANT FROM OFFERING
       EVIDENCE OF ALLEGED THIRD-PARTY USES OF “THRIVE” MARK
   9
       on the following parties by electronically filing the foregoing on October 15, 2021,
  10   with the Clerk of the District Court using its ECF System, which electronically
       notifies them.
  11
       Rollin Ransom (SBN 196126)                      Attorneys for Defendant
  12   rransom@sidley.com
       Ryan Stasell (SBN 307431)
  13   rstasell@sidley.com
       Paula Salazar (SBN 327349)
  14   psalazar@sidley.com
       SIDLEY AUSTIN LLP
  15   555 West Fifth St., Ste. 4000
       Los Angeles, CA 90013
  16
       I declare under penalty of perjury under the laws of the United States of America
  17   that the foregoing is true and correct.
  18

  19    Date:     10/15/2021               By: /s/ Thomas Dietrich
  20
                                               Thomas Dietrich

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                                                                   PLAINTIFF’S MTN. IN LIMINE NO. 1
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